      Case 4:23-cv-03516   Document 36    Filed on 01/12/24 in TXSD   Page 1 of 2
                                                                        United States District Court
                                                                          Southern District of Texas

                                                                             ENTERED
                                                                           January 12, 2024
                     IN THE UNITED STATES DISTRICT COURT                  Nathan Ochsner, Clerk
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION
                                       §
                                           ('




LANDSCAPE CONSULTANTS OF                   §
TEXAS, INC., et al.                        §
                                           §
           Plaintiffs,                     §
                                           §
 v.                                        §     . Civil Action No. 4:23-cv-3516
                                           §
 CITY OF HOUSTON, TEXAS, and               §
 MIDTOWN MANAGEMENT                        §
 DISTRICT                                  §
                                           §
           Defendants.                     §
                                         ORDER
        Pending before the Court is Defendant City of Houston's Rule 12 (b)(l) and

(6) Motions to Dismiss as to Plaintiff Metropolitan Landscape Management, Inc.

and 12(b)(l) Motion to Dismiss Section 1981 Claim by Plaintiff Landscape

Consultants of Texas, Inc.       (Document No. 18) and Defendant Midtown

Management District's Motion to Dismiss Pursuant to Rules 12(b)(l) and 12(b)(6)

(Document No. 26). Having considered the motions, submissions, and applicable

law, the Court determines the motions should be denied. Accordingly, the Court

hereby

         ORDERS that Defendant City of Houston's Rule 12 (b)(l) and (6) Motions

to Dismiss· as to Plaintiff Metropolitan Landscape Management, Inc. and 12(b)( 1)
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Motion to D_ismiss Section 1981 Claim by PlaintiffLandscape Consultants of Texas,

Inc. (Document No. 18) is DENIED. The Court further

      ORDERS that Defendant Midtown Management District's Motion to

Dismiss Pursuant to Rules 12(b)(l) and 12(b)(6) (Document No. 26) is DENIED.

      SIGNED at Houston, Texas, on this    A day of January, 2024.

                                             ~ r1JL : .
                                                    DAVID HITTNER
                                                United States District Judge




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